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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

DOMENEQUE D. TAYLOR                                                            PLAINTIFF

v.                              Case No. 4:21-cv-00934-JM

BRIAN L. HOHERTZ, MD,
Emergency Care Physician; DOE,
Emergency Room #8 Trauma Nurse;
UNIVERSITY OF ARKANSAS MEDICAL
SCIENCES, UAMS                                                              DEFENDANTS

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ADJUDGED this 1st day of November, 2021.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
